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Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Herbert Building
600 S. Maestri Place
New Orleans, LA 70130

          RE:        Airlines for America et al. v. Department of Transportation, No. 24-
                     60231: Notice of petition challenging the same Rule, Spirit
                     Airlines, Inc. v. United States Department of Transportation, No. 24-
                     12121 (11th Cir.), and thus requiring transfer to this Court under
                     28 U.S.C. § 2112(a)(5)

Dear Mr. Cayce:

       On June 28, 2024, Spirit Airlines, Inc., filed the petition, attached here
as Exhibit A, before the Eleventh Circuit for review of the same rule petition-
ers challenge here, Enhancing Transparency of Airline Ancillary Service Fees, 89
Fed. Reg. 34,620 (Apr. 30, 2024) (the Rule). By statute, the Department of
Transportation must file the record, and litigation will proceed, before this
Court, where the first petition (and only petition within the first ten days of
the Rule’s issuance) was filed. See 28 U.S.C. § 2112(a)(1). The Eleventh Cir-
cuit, in turn, “shall transfer” Spirit’s petition to this Court, id. § 2112(a)(5).
We have sent the Eleventh Circuit a letter, attached here as Exhibit B, notify-
ing the Eleventh Circuit of the prior proceedings before this Court.




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                                     Respectfully,


                                     Shay Dvoretzky

                                     Counsel for Petitioners Airlines for
                                      America, International Air Transport
                                      Association, & National Air Carrier
                                      Association


                        CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2024, I electronically filed the foregoing
document with the Clerk of Court for the United States Court of Appeals for
the Fifth Circuit by using the CM/ECF system. I certify that all participants
in the case are registered CM/ECF users and that service will be accom-
plished by the CM/ECF system.

Dated: July 8, 2024                         /s/ Shay Dvoretzky

                                            Shay Dvoretzky




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                        EXHIBIT A
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USCA11 Case: 24-12121 Document: 1-2 Date Filed: 06/28/2024 Page: 1 of 64
     Case: 24-60231   Document: 50 Page: 5 Date Filed: 07/08/2024
USCA11 Case: 24-12121 Document: 1-2 Date Filed: 06/28/2024 Page: 2 of 64
     Case: 24-60231   Document: 50 Page: 6 Date Filed: 07/08/2024
USCA11 Case: 24-12121 Document: 1-2 Date Filed: 06/28/2024 Page: 3 of 64
     Case: 24-60231   Document: 50 Page: 7 Date Filed: 07/08/2024
USCA11 Case: 24-12121 Document: 1-2 Date Filed: 06/28/2024 Page: 4 of 64
     Case: 24-60231   Document: 50 Page: 8 Date Filed: 07/08/2024
USCA11 Case: 24-12121 Document: 1-2 Date Filed: 06/28/2024 Page: 5 of 64
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                        EXHIBIT B
            Case: 24-60231       Document: 50         Page: 10   Date Filed: 07/08/2024




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David J. Smith                                                                       SINGAPORE
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Clerk of Court
U.S. Court of Appeals for the Eleventh Circuit
Elbert P. Tuttle Courthouse
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

          RE:       Spirit Airlines, Inc. v. United States Department of Transportation,
                    No. 24-12121 (11th Cir.): Notice of petition challenging the same
                    rule filed earlier before the Fifth Circuit in Airlines for America et
                    al. v. Department of Transportation, No. 24-60231 (5th Cir.), and
                    thus requiring transfer of this case to the Fifth Circuit under 28
                    U.S.C. § 2112(a)(5)

Dear Mr. Smith:

       We represent the Petitioners (the Airlines) before the Fifth Circuit in
Airlines for America et al. v. Department of Transportation, No. 24-60231 (5th
Cir.). In that litigation, the Airlines challenge the same rule that Spirit Air-
lines, Inc., challenges here, Enhancing Transparency of Airline Ancillary Service
Fees, 89 Fed. Reg. 34,620 (Apr. 30, 2024) (Rule). The Airlines thus write to
notify this Court that by statute it “shall transfer” this case (Spirit Airlines,
Inc. v. United States Department of Transportation, No. 24-12121) to the Fifth
Circuit. 28 U.S.C. § 2112(a)(5).

       When only one petition for review of an agency rule is filed within the
first ten days after issuance of the rule, the agency “shall file the record in
that court.” Id. § 2112(a)(1). If no petition is filed within the ten-day window,

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the agency “shall file the record in the court in which proceedings with re-
spect to the order were first instituted.” Id. Then, “[a]ll courts in which pro-
ceedings are instituted with respect to the same order, other than the court
in which the record is filed … , shall transfer those proceedings to the court
in which the record is so filed.” Id. § 2112(a)(5). In other words, any later-
filed petitions must be transferred to the court of appeals in which the first
petition was filed.

      Here, the Airlines first petitioned for review of the Rule on May 10,
2024 (docketed May 14, 2024), and then filed another petition adding addi-
tional petitioners on June 12 (docketed June 13, 2024). The Airlines have since
sought a stay of the Rule because it exceeds the Department of Transporta-
tion’s authority and is unlawful under the Administrative Procedure Act;
the stay motion has been fully briefed by both sides since July 1, 2024. The
May 10 petition was the first and only petition filed within the first ten days
of issuance of the Rule on April 30, 2024. Accordingly, the Department of
Transportation must file the record in the Fifth Circuit (the record is cur-
rently due July 23, 2024), id. § 2112(a)(1), and this Court “shall transfer” Spirit
Airlines’ petition to the Fifth Circuit, id. § 2112(a)(5).

      The Airlines will file a copy of this letter as an exhibit to a correspond-
ing letter to be filed before the Fifth Circuit.




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Dated: July 8, 2024                      Respectfully submitted,

                                         /s/ Shay Dvoretzky

Alisha Q. Nanda                          Shay Dvoretzky
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    Counsel for Petitioners Airlines for America (A4A), National Air Carrier
 Association (NACA), and International Air Transport Association (IATA), in
 Airlines for America et al. v. Department of Transportation, No. 24-60231
                          (5th Cir. filed May 10, 2024)

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 Counsel for Petitioners A4A, NACA, Alaska Airlines, Inc., American Airlines,
Inc., Delta Air Lines, Inc., Hawaiian Airlines, Inc., JetBlue Airways Corporation,
  and United Airlines, Inc., in Airlines for America et al. v. Department of
           Transportation, No. 24-60231 (5th Cir. filed May 10, 2024)




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       Case: 24-60231    Document: 50   Page: 13    Date Filed: 07/08/2024




                        CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2024, I caused copies of this document
to be served on the Clerk of Court for the United States Court of Appeals for
the Eleventh Circuit, as well as counsel for Spirit Airlines, Inc., and the U.S.
Department of Transportation by email and FedEx.

Dated: July 8, 2024                         /s/ Shay Dvoretzky
                                            Shay Dvoretzky




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